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IN THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF MARYLAND
                                        Northern Division

IN RE: DEREK DAHLGREN                               BANKRUPTCY CASE NO. 19-22185-RAG
                                                    CHAPTER 7

DEREK DAHLGREN,
                                                    ADVERSARY PROCEEDING NO.
Plaintiff,

vs.

PAYOFF, INC.
      Serve on:        Paracorp Incorporated, Resident Agent
                       245 W. Chase St.
                       Baltimore, MD 21201
        Defendant

__________________________________


             COMPLAINT FOR DAMAGES AND DEMAND FOR JURY TRIAL

                                      INTRODUCTION

        Derek Dahlgren, Plaintiff, sues Payoff, Inc. (Payoff) for its violations of the Maryland

Consumer Protection Act (MCPA), the Maryland Consumer Debt Collection Act (MCDCA), and

the Telephone Consumer Protection Act (TCPA). Fundamentally this case is about Defendant’s

refusal to respect Mr. Dahlgren’s consumer rights by contacting him to collect a consumer debt in

order to harass him, even though it knew he was represented by an attorney.

                         PARTIES, JURISDICTION, AND VENUE


        1.     Mr. Dahlgren is a natural person and is a “consumer” as defined in the FDCPA and

the MCPA.

        2.     Payoff is a corporation organized under the laws of Delaware.
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        3.       The Court has jurisdiction under 28 U.S.C. §§1334, 1367. Venue is proper in this

District and Division pursuant to 28 U.S.C. §1409.

        4.       This adversary matter is a core proceeding.

                                         FACTUAL BACKGROUND

        6.       Mr. Dahlgren had an alleged debt to Payoff incurred for personal, family or household purposes.

        7.       Mr. Dahlgren’s incurred the alleged debt in a “consumer transaction” as defined by

the MCDCA, Md. Code, Com. L. Art., §14-201(c).

        8.       Mr. Dahlgren hired Wendell Finner PC to represent him with respect to all debts

and claims that his creditors may have had against him, and to seek relief from debt collection calls

and letters.

        9.       On May 16, 2019 at 6:21 P.M. Eastern Daylight Time, Mr. Dahlgren, through

counsel, advised Payoff that he was represented by an attorney with respect to all accounts owned

or serviced by Payoff and requested that Payoff cease all direct contact with Mr. Dahlgren. A true

and correct copy of the May 16, 2019 communication to Payoff, which was confirmed received

by Payoff’s fax receiving equipment, is attached hereto as Exhibit A.1

        10.      The May 16, 2019 communication to Payoff placed Payoff on notice that (a) Mr.

Dahlgren was represented by counsel with regard to his alleged debt, (b) Mr. Dahlgren did not

wish to be directly contacted by Payoff, and (c) Mr. Dahlgren disputed the alleged debt.




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  The fax sent to Payoff contained a notice of representation which stated “PLEASE TAKE NOTICE that Wendell
Finner 1 E. Chase St. #1109 Baltimore MD 21202 is my attorney at law who represents me with respect to all my
debts and all claims my Payoffs have against me. I authorize and instruct him to discuss any of my accounts with
my Payoffs and their affiliates, agents, employees, designees or assigns. I authorize and instruct my Payoffs to
disclose such information to Mr. Dahlgren as he may request, and to direct all communications to him as my
attorney.” The notice was signed by Mr. Dahlgren and included him social security number to assist recipients in
identifying affected accounts. Due to the inclusion of Mr. Dahlgren’s social security number, the Notice of
Representation is not filed herewith.
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       11.     On June 12, 2019, and June 14, 2019, Payoff, notwithstanding that Mr. Dahlgren

was represented by counsel, telephoned Mr. Dahlgren in an attempt to collect a debt.

                COUNT I – MARYLAND CONSUMER DEBT COLLECTION ACT

       12.     Mr. Dahlgren incorporates paragraphs 6-11 hereof.

       13.     Payoff could reasonably have expected that its direct communications with Mr.

Dahlgren even though Payoff knew him to be represented by an attorney would abuse and harass

him.

       14.     By communicating with Mr. Dahlgren in such manners Payoff violated the

MCDCA, Md. Code, Com L. Art. §14-202(6).

       15.     Mr. Dahlgren experienced emotional distress and incurred attorneys’ fees caused

by Defendants’ harassing communications.

       WHEREFORE, Plaintiff, Derek Dahlgren, demands judgment against Payoff, Inc. for

actual damages, attorneys’ fees, interest and costs of suit.

                   COUNT II – MARYLAND CONSUMER PROTECTION ACT

       16.      Mr. Dahlgren incorporates paragraphs 6-11 and 13-15 hereof.

       17.     By violating the MDCPA, Payoff violated the MCPA, Md. Code, Com L. Art. §13-

301 (14).

       WHEREFORE, Plaintiff, Derek Dahlgren, demands judgment against Payoff, Inc. for

actual damages, attorneys’ fees, interest and costs of suit.

                 COUNT IV – UNLAWFUL USE OF TELEPHONE EQUIPMENT

       18.      Mr. Dahlgren incorporates paragraphs 6-11 hereof.

       19.     Payoff’s calls on June 12, 2019 and June 14, 2019 were placed to Mr. Dahlgren’s

cellular telephone without his consent.
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       20.     The telephone calls made to Mr. Dahlgren’s cellular telephone were willfully or

knowingly made using an automatic telephone dialing system.

       21.     The telephone calls made to Mr. Dahlgren’s cellular telephone were not made for

emergency purposes.

       22.     The telephone calls made to Mr. Dahlgren’s cellular telephone violated the TCPA,

47 U.S.C. § 227(b)(1)(A)(iii)

       WHEREFORE, Plaintiff, Derek Dahlgren, demands judgment against Payoff, Inc. for

actual damages, attorneys’ fees, interest and costs of suit.



                                                      /s Wendell Finner
                                                      WENDELL FINNER, Bar No. 04379
                                                      One East Chase Street, Suite 1109
                                                      Baltimore, Maryland 21202
                                                      (410) 929-2440
                                                      (410) 449-1170 fax
                                                      himself@wendellfinner.com
                                                      Attorney for Plaintiff
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                                                     WENDELL FINNER PC
                                                             LAW OFFICES
Admitted in Florida, Maryland, Virginia

and the District of Columbia


                                                                   May 16, 2019

               CREDITOR/AGENCY NAME: PAYOFF                                Sent to Fax Number: 949-743-0878

           TOTAL NUMBER OF PAGES (INCLUDING THIS COVER SHEET): 2


                OUR CLIENT: DEREK DAHLGREN                           a/n: P06BC42919BE0
                                                                     SSN: xxx-xx-5533

           DOCUMENT:                 Signed Notice of Representation Follows

           COMMENTS: The person who signed the attached notice is represented by the lawyers of this
           office with respect to all accounts owned or serviced by your firm. The identified account number,
           if available, is provided above for your ease in identifying the client, whom we represent with
           respect to all collection accounts. Ours client’s social security number is provided on the
           next page for you to use in flagging your file. Please keep this number confidential. Please
           contact us if you need additional identifying information in order to process this notice.
           This notice is effective until revoked.

           Do not contact our client. Do not give our client’s information to anybody else so that the
           recipient will contact our client instead of this office. If you authorize or instruct any other
           person to contact our client, or sell or give our client’s contact information to anyone else, please
           tell us who that is or give that party this document. Any prior permission to contact the client’s
           cellular, home or business phone is revoked. Our client disputes your claimed debt. You are
           specifically advised that the claimed balance of the referenced account contains fees and charges
           never assented to by our client. Please be governed accordingly.




               1 E. Chase St. Suite 1109                                                   Phone: (410) 929-2440
                 Baltimore, MD 21202                                                       Fax: (410) 449-1170

                                                        EXHIBIT A
